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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,             :
                                      :
           Plaintiff,                 :
                                      :
      v.                              :     Criminal Action No. 20-56-MN
                                      :
ADRIAN WOOD,                          :
                                      :
           Defendant.                 :


                REPLY TO GOVERNMENT’S OMNIBUS RESPONSE TO
                      DEFENDANT’S MOTIONS TO DISMISS
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I.     SECTION 231(a)(3) IS UNCONSTITUTIONAL.

        The legislators’ words establish that racial prejudice and vindictiveness toward civil

 rights advocacy animated subsection 3 the Civil Obedience Act. The government’s response

 on the factual background of the legislative history of 18 U.S.C. § 231(a)(3) is wrong and is

 also wrong and irrelevant on the events that led to the government’s revival of this statute after

 50 years of well-deserved obscurity. The government’s legal arguments depend on cases

 addressing statutes that were legislatively fixed after judicial invalidation. Section 231(a)(3)

 has never been fixed. The primary case upon which the government relies – United States v.

 Williams, 553 U.S. 285 (2008), upheld a rewritten statute after the Ninth Circuit and Supreme

 Court struck down its predecessor as unconstitutional in Free Speech Coalition v. Reno, 198

 F.3d 1083 (9th Cir. 1999), affirmed sub nom. Ashcroft v. Free Speech Coalition, 535 U.S. 234

 (2002). The unreconstructed § 231(a)(3) violates the Commerce Clause, the First Amendment,

 and the Due Process Clause. After five decades of the statute’s obsolescence, it is long past time

 to permanently remove this stain from the criminal code.

       A.      The Legislative History Establishes Suppression Of Civil Rights Advocacy As
               The Purpose Of The Statute.


       The government dismisses the racist and vindictive history of § 231(a)(3) by claiming

 the extensive legislative history provided by the defense constitutes “stray remarks” from

 legislative history. DI 28 at 5. Far from being “stray remarks,” the comments reflect the views

 of the proponent and primary sponsor of the statute who repeatedly and explicitly invoked his

 legislation as a tit-for-tat to target civil rights advocates who might be protected by the “hate

 crime” protections of the Civil Rights Act. The supposed “stray remarks” provide the only

 legislative history, and demonstrate the statute’s explicit purpose of targeting civil rights
                                                  1
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    advocacy.

           Animus toward civil rights advocacy was not a “stray remarks” glitch, it was the feature

    in the statute’s enactment. Senator Long was not alone in his opposition to the “hate crime”

    provision of the Civil Rights Act. Senator Allen Ellender of Louisiana complained that the

    hate crime bill would “protect[] anarchists such as [civil rights organizers] Rap Brown and

    Stokely Carmichael who go about the country stirring up trouble,” while imposing a “lengthy

    sentence” on the “party charged” when “a troublemaker is injured while inflaming the local

    people.” 114 Cong. Rec. 1154 (Jan. 26, 1968).1 Senator Benjamin Jordan of North Carolina

    recalled when “a group of Negroes descended on the House Gallery” and hypothesized that

    “any of those Negroes could have invoked the Federal [hate crime] law against our own

    policemen right here because of claimed police brutality.” 114 Cong. Rec. 1160 (Jan. 26, 1968).

    Senator Herman (“There will never be mixed schools while I am governor") Talmadge of

    Georgia worried that the hate crime bill would penalize a person who “hit Rap Brown with an

    open hand while he was causing people to riot and drew a little blood.” DI 25, Exh. D at 2.

          The government offers nothing to contradict the extensive legislative history provided by

the defense in support of the obvious proposition that Senator Long’s legislation intended to create

means for suppression of civil rights advocacy. Perhaps in recognition of its constitutional

defects, the statute has been virtually unused for 50 years, and even the few times it has ever

been used, the focus was on acts directed against federal interests. Its use against the summer


1
  Senator Ellender’s hostility to Dr. King and civil rights advocates is reflected in his opposition
to voting rights for Black Americans: “The bill is tailor-made to Martin Luther King’s demand
for Negro control of the political institutions of the South. Only through such a nefarious piece of
legislation could incompetents gain control of the political processes in the South or in the
United States.” 111 Cong. Rec. 5555 (Mar. 22, 1965).

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2020 civil rights actions, whether advertently or not, matches the sponsor’s intent in it being used

against civil rights advocates.2 Regardless of its use in this case, the animus behind the

legislation is unequivocal and invalidates the statute.

          B.      The Government’s Flawed Account Of The George Floyd Protests Is Not
                  Only Inaccurate But Irrelevant To The Constitutionality Of A Statute That
                  Must Be Judged Based On The Facts At The Time Of Enactment And On Its
                  Overbroad And Vague Text.
          The government’s account of national and local Black Lives Matter demonstrations

    provides little useful information for determining the constitutionality of the 1968 civil

    disorder statute. The statute’s meaning does not change after enactment based on new facts or

    considerations. See United States v. Aguilera-Rios, 769 F.3d 626, 631 (9th Cir. 2014)

    (“Decisions of statutory interpretation are fully retroactive because they do not change the law,

    but rather explain what the law has always meant.”) (quoting United States v. Rivera-Nevarez,

    418 F.3d 1104, 1107 (10th Cir. 2005) (citing Rivers v. Roadway Express Inc., 511 U.S. 298,

    312-13 (1994)). And the government’s account completely omits the role of law enforcement

    in committing and contributing to acts of violence.3 See Kim Barker, Mike Baker and Ali

    Watkins, In City After City, Police Mishandled Black Lives Matter Protests. N.Y. Times

    (March 20, 2021). Most basically, the breadth and motivation behind the statute at the time of

    enactment render it unconstitutional, regardless of whether “there is some conduct that clearly

    falls within the provision’s grasp.” Johnson v. United States, 576 U.S. 591, 602 (2016); accord

    United States v. Stevens, 559 U.S. 460, 473 (2010) (statute overbroad despite plainly legitimate



2
  Although the government notes the statute’s invocation against Capitol defendants this year,
those cases, unlike Mr. Wood’s case, all involve a direct federal nexus (“the conduct or
performance of any federally protected function”) and have not resulted in litigated convictions.
3

                                                    3
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applications).

                 1.    The Government Omits the Role Of The Police In Contributing To
                       Violence During Protests.

        The government’s response provides not a hint of the policing failures and violence

initiated by the police during last summer’s Black Lives Matters protests. And context matters.

The government’s account of the Black Lives Matters protests echoes the last Administration’s

mischaracterization of Portland, for example, which President Biden recently rejected by

executive order. Exec. Order No. 14,016, 86 Fed. Reg. 11,089 (Feb. 17, 2021) (revoking

Memorandum of September 2, 2020) (Reviewing Funding to State and Local Government

Recipients of Federal Funds That Are Permitting Anarchy, Violence, and Destruction in

American Cities).

        The government’s response betrays no concern for the chilling effect of federal

intervention into state protests with poorly defined parameters, leaving police officers and

prosecutors to determine whether to sweep in speech and expressive conduct along with state-

covered criminal activity. “Under our system of government,” the First Amendment may

“serve its high purpose when it induces a condition of unrest, creates dissatisfaction with

conditions as they are, or even stirs people to anger.” Terminiello v. City of Chicago, 337 U.S.

1, 4 (1949); see Hague v. CIO, 307 U.S. 496, 515 (1939) (noting historic role of streets for

protest).

       2.        The Government Lists Offenses Involving Federal Officers And Federal
                 lnterests That Do Not Pertain To The Statute Referencing State Law
                 Enforcement.

        The government’s list of horribles from the summer of Black Lives Matter protests

provides no relevant information because the incidents involve clear federal statutory

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jurisdiction or easily prosecutable crimes under state law. As reflected by its 50-year

dormancy, § 231(a)(3) has no critical, or even minimal, function that is already not covered by

applicable state and federal laws.

       For example, the government’s references the killing of a federal security officer in

Oakland during a protest. DI 28 at 2. What the government omits is that the government has

accused two men associated with the right-wing Boogaloo movement of the murder. Mario

Dinzeo, Two Charged in Murder of Oakland Federal Officer During Protests, Courthouse

News (June 16, 2020); Katie Shepherd, An Officer Was Gunned Down. The Killer Was A

‘Boogaloo Boy’ Using Nearby Peaceful Protests As Cover, Feds Say, Washington Post (June

17, 2020). The right-wing murderers tried to smear the Black Lives Matter movement by

escalating violence during BLM protests. The government here falls directly into to that trap,

asking the Court to consider a right-wing murder of a Black federal contract security officer as

something resulting from Black Lives Matter protests. See United States v. Carrillo, No. 4:20-

mj-70785, Complaint at 14- 16 (N.D. Cal. June 16, 2021) (setting out evidence linking the

alleged murderer to the “Boogaloo” movement).

               3.     The Government’s Characterizations Regarding The Protests Do Not
                      Address Or Cure The Statute’s Unconstitutionality.

       Although claiming that the statute must be construed, the government fails to provide a

meaningful summary of how the multiple vague and general terms in the statute can be

narrowed without judicial legislation. The face of the statute applies broadly to speech and

expressive conduct during demonstrations against police conduct. The Supreme Court has

been unequivocal that Congress, and not the courts, is responsible for rewriting

unconstitutional statutes:

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          [T]his Court may impose a limiting construction on a statute only if it is ‘readily
          susceptible’ to such a construction.” Reno v. American Civil Liberties Union,
          521 U.S. 844, 884 (1997). We “‘will not rewrite a ... law to conform it to
          constitutional requirements,’” id., at 884-885 (quoting Virginia v. American
          Booksellers Assn., Inc., 484 U.S. 383, 397 (1988), for doing so would constitute
          a “serious invasion of the legislative domain,” United States v. Treasury
          Employees, 513 U.S. 454, 479, n. 26 (1995), and sharply diminish Congress's
          “incentive to draft a narrowly tailored law in the first place,” Osborne [v. Ohio,
          495 U.S. 103 (1990]. To read § 48 as the Government desires requires rewriting,
          not just reinterpretation.


Stevens, 559 U.S. at 481 (parallel citations and signals omitted); see Iancu v. Brunetti, 139 S.

Ct. 2294, 2301 (2019) (“[E]ven assuming the Government’s reading would eliminate First

Amendment problems, we may adopt it only if we can see it in the statutory language.”).

Nothing in the statute provides bases for narrowing through construction, and the statute’s

sponsors indicated no limiting intention.

          The Court has also been clear that the government does not allay concerns regarding a

statute’s constitutionality by assuring that it will be used wisely:

          But the First Amendment protects against the Government; it does not leave us
          at the mercy of noblesse oblige. We would not uphold an unconstitutional statute
          merely because the Government promised to use it responsibly.

Stevens, 559 U.S. 480. The government claims to only use the statute for physical or assaultive

conduct. But unlike the federal obstruction statute, there § 231(a)(3) has no element requiring

force.

         Neither does the statute contain any language describing the mental element, the scope of

“obstruct, impede, or interfere,” the knowledge and relationship between the “any acts,” and the

attenuated “in any way or degree” commerce language. The hopelessly ill-defined “any act,” the

lack of a mental element, and other nebulous internal language in the statute all leave the statute


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open to the widest interpretation for the purposes of all constitutional analyses. Unlike the

surviving part of Rundo, there is no surviving part of “any act” that can be severed or can be

considered “readily susceptible” to construction without judicially law-writing far beyond what

the words and expressed intentions of the legislators permits. Supra (quoting Stevens, 559 U.S.

at 481).


      C.      The Primary Case Relied Upon By The Government Perfectly Illustrates
              That Only Congress – Not The Courts – Has Authority To Rewrite Statutes
              To Cure Constitutional Defects.

       The government places primary reliance on Williams, citing the case repeatedly

throughout its brief. In doing so, the government fails to note that the Court upheld the statute

in Williams only after its predecessor statute had been invalidated as unconstitutional, and after

Congress had engaged in a thorough rewrite addressing and curing the statute’s constitutional

defects. Section 231(a)(3) is directly analogous to the statute invalidated prior to Williams, so

the case perfectly illustrates that Congress, not the courts, provides the appropriate forum for

the statutory rewrite needed to cure constitutional defects.

       The Supreme Court affirmed a lower court ruling striking down the Child Pornography

Prevention Act (“CPPA”) of 1996. Ashcroft v. Free Speech Coal., 535 U.S. 234, 258 (2002).

The Supreme Court affirmed based on First Amendment overbreadth without reaching the

lower court’s additional findings on vagueness. The Court determined that the reach of the

CPPA was overbroad in extending to virtual images. Id. at 250-51.

       The Government may not suppress lawful speech as the means to suppress
       unlawful speech. Protected speech does not become unprotected merely because it
       resembles the latter. The Constitution requires the reverse. “[T]he possible harm
       to society in permitting some unprotected speech to go unpunished is outweighed
       by the possibility that protected speech of others may be muted ....” Broadrick v.
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        Oklahoma, 413 U.S. [601, 612(1973)]. The overbreadth doctrine prohibits the
        Government from banning unprotected speech if a substantial amount of
        protected speech is prohibited or chilled in the process.

Free Speech, 535 U.S. at 255 (emphases added). Applying the same analysis to this case, it is clear

that the overbreadth of “any act” in § 231(a)(3) is much more spacious and covers a wider scope

of expressive conduct and speech than did the CPPA.

        The Court in Free Speech also held that the provision banning depictions of sexually

 explicit conduct that are “advertised, promoted, presented, described, or distributed in such a

 manner that conveys the impression that the material is or contains a visual depiction of a

 minor engaging in sexually explicit conduct” is substantially overbroad in violation of the First

 Amendment. Id. at 257-58. The overbroad “conveys the impression” language suffers the same

 defect as § 231(a)(3), which places the officer in the position of deciding whether the

 subjective standard of the statute – “obstruct, impede, or interfere with” the officer who decides

 whether “any act” has done those things – has been met. Motion at 31-33.

        In Williams, after Free Speech, the Court upheld Congress’s replacement statute

 against First Amendment and vagueness challenges. In doing so, the Court described the

 narrowing and specificity that saved the statute from vagueness, especially the definitional

 section explaining the meaning of the term “sexually explicit conduct” and the “commonsense

 canon of noscitur a sociis.” Williams, 553 U.S. at 294-97 (emphasis in original). In contrast to

 the specificity required in Williams to uphold the statute, § 231(a)(3) remains in a far worse

 form than the CPPA invalidated in Free Speech and has never received a congressional make-

 over to bring it within constitutional bounds.

       The unreconstructed civil disorder statute bears all the markers of unconstitutionality

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with none of the remedial steps illustrated by Williams as necessary for the statute to be valid.

As the main case upon which the government relies, Williams fully supports the present

statute’s invalidation under the First Amendment and Due Process Clause and forecloses

judicial rewriting of the statute.

        D.      The Civil Disorder Statute Does Not Directly Implicate Interstate Commerce,
                So The Statutory “In Any Way Or Degree” Cannot Meet The Requirement
                Of A “Substantial” Effect.

         The Supreme Court limits the categories of permissible regulation under the Commerce

 Clause to (1) “the use of the channels of interstate commerce;” (2) “the instrumentalities of

 interstate commerce, or persons or things in interstate commerce;” and (3) “those activities that

 substantially affect interstate commerce.” United States v. Lopez, 514 U.S. 549, 558 (2000).

 After Lopez invalidated the Gun-Free School Zones Act under the Commerce Clause,

 Congress amended the statute’s language to require actual use of the channels of interstate

 commerce and made detailed congressional findings establishing bases for federal action.

         In the absence of any language in § 231(a)(3) meeting the first two Lopez conditions,

 the government claims the statute meets all three, placing primary reliance on United States v.

 Dorsey, 418 F.3d 1038 (9th Cir. 2005). As in Williams, the Dorsey court addressed a previously

 invalidated statute after Congress addressed the issues rendering it unconstitutional and, by

 amending the statute, established Commerce Clause compliance. In Dorsey, the court

 addressed the new language that narrowed the offense to possession of a firearm that has

 “moved in or that otherwise affects interstate or foreign commerce” 418 F.3d at 1045. This

 jurisdictional element, the Ninth Circuit recognized, established a “concrete tie to interstate

 commerce” by requiring, “through case-by-case inquiry, that the firearm possession in


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question affects interstate commerce.” Dorsey, 418 F.3d at 1046. Section 231(a)(3) has no

equivalent requirement.

        By contrast with the present case, Dorsey perfectly illustrates the invalidity of §

231(a)(3), which has had none of the congressional repair work addressed in Dorsey.

        Further, the amended statute reviewed in Dorsey included extensive and detailed

findings to establish a substantial effect on commerce. Unlike the general platitudes in the

previous statute, and in § 231(a)(3), Congress considered and listed eight express and detailed

findings establishing the effects on interstate commerce of guns in schools. 18 U.S.C. §

922(q)(1). Nothing remotely similarly to such findings can be gleaned from what the

government calls the “stray remarks” of § 231(a)(3)’s sponsor or any other part of the

legislative history.

      The government provides no basis for finding the kind of federal interest required by the

Constitution as a limitation on federal power. See United States v. Morrison, 529 U.S. 598, 618

n.8 (2000) (“With its careful enumeration of federal powers and explicit statement that all

powers not granted to the Federal Government are reserved, the Constitution cannot

realistically be interpreted as granting the Federal Government an unlimited license to

regulate.”). The Commerce Clause’s limitation on federal legislative authority, and reservation

to the States of general police power, depends on “the distinction between what is truly

national and what is truly local.” Id. at 617-618 (citing Lopez, 514 U.S. at 568). A federal

statute that criminalizes “any act” that interferes with a state officer, incident to a disturbance

involving three or more people, that “in any way or degree” affects commerce, addresses a

quintessentially local crime and unconstitutionally cedes to the federal government state police

authority.
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      The government’s position that the Commerce Clause encompasses individual acts to

interfere with police and firefighters, as described under § 231(a)(3), “would effectually

obliterate the distinction between what is national and what is local and create a complete

centralized form of government.” Lopez, 514 U.S. at 557 (quoting NLRB v. Jones & Laughlin

Steel Corp., 301 U.S. 1, 37 (1937)). In order to preserve the federalist separation of powers

enshrined in the Constitution and in the American form of government, the Court should

invalidate the commercial means of committing § 231(a)(3) under the Commerce Clause.

      1.      Section 231(a)(3) Does Not Narrowly Regulate The Channels Or Goods Of
              Interstate Commerce.

       The government claims that § 231(a)(3) is not only a regulation on “activity that

substantially affects commerce,” but it also regulates “the channels of interstate commerce,

including the roads and highways” and serves “to protect the flow of things in interstate

commerce” within the meaning of Lopez. The government’s position finds no support in §

231(a)(3)’s plain language. Section 231(a)(3) is not narrowly drafted as to apply only to

activities impacting the channels of commerce or the flow of goods in commerce. Neither the

substantive offense of interfering with a police officer’s duties, nor the incidental occurrence

of a civil disorder that “in any way or degree” affects commerce, can reduce application of §

231(a)(3) to only those activities that impact the channels or goods pertaining to interstate

commerce. The “in any way or degree” statutory language cannot reasonably be narrowed to

fit the government’s interpretation of civil disorders “that cut off through-fares or prevent use of

significant commercial or government buildings for an extended period of time.” Because §

231(a)(3) prohibits intrastate, noneconomic activity that need not itself cause any impact to

interstate commerce, the first two Lopez categories, which require direct impacts to commerce,
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cannot apply.

      2.        The Unprecedented Attenuation Between The Prohibited Act And The
                Jurisdictional Element Of § 231(a)(3) Fails To Establish The Required Federal
                Nexus.

       The degree of attenuation between the substantive offense element and jurisdictional

element of § 231(a)(3) is unprecedented: the government points to no other federal felony

replicating this unique structure. By its own terms, the jurisdictional element of § 231(a)(3)

contains no requirement “that a defendant’s actions implicate interstate commerce” to any

degree at all. Instead, it is the civil disorder, and not the defendant’s offense conduct, that must

be shown to have affected commerce.

       Federal laws that regulate “forms of conduct that, even in the aggregate, may not

substantially affect commerce” must contain a jurisdictional element so that their “applications

. . . do not exceed Congress’s authority.” Taylor v. United States, 136 S. Ct. 2074, 2081 (2016).

“[T]he jurisdictional element ‘insures, on a case-by-case basis, that a defendant's actions

implicate interstate commerce to a constitutionally adequate degree.’” United States v. Jones,

231 F.3d 508, 514 (9th Cir. 2000) (quoting United States v. Polanco, 93 F.3d 555, 563 (9th

Cir. 1996)). All of the statutes that the government uses for comparison are distinguishable

because, unlike § 231(a)(3), the crimes referenced all require that a defendant’s activity

directly impacted commerce or involved a commercial good.

      The government argues that the Hobbs Act is analogous to § 231(a)(3). However, the

jurisdictional elements contrast sharply. The Ninth Circuit determined “that Lopez's

‘substantially affects’ test is not applicable” because “the Hobbs Act is concerned solely with

inter state, rather than intra state, activities.” United States v. Atcheson, 94 F.3d 1237, 1242


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(9th Cir. 1996) (emphasis in original); see also United States v. Clausen, 328 F.3d 708, 710

(3d Cir. 2003). Rather than requiring a substantial effect “the Hobbs Act speaks to one who

‘affects commerce’ by robbery or extortion,” implying “a direct impact on interstate

commerce.” Id. (emphasis added). “In contrast to the Gun- Free School Zones Act, which was

aimed at purely local, noneconomic activities, the Hobbs Act is directly aimed at economic

activities which ‘in any way or degree . . . affects commerce.” Id. While robbery under the

Hobbs Act can only be carried out by “affect[ing] commerce,” § 231(a)(3) contains no

requirement that an individual “affect commerce” by interfering with the duties of police

officer.

           Second, the jurisdictional element in the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. § 1962, also provides no help to the government’s arguments.

Unlike § 231(a)(3), RICO can apply criminal liability to any enterprise “engaged in, or the

activities of which affect, interstate or foreign commerce.” 18 U.S.C. §§ 1962(a), 1962(b), and

1962(c). The Ninth Circuit therefore upheld the constitutional validity of RICO under the

Commerce Clause because, “[l]ike the Hobbs Act,” RICO requires that a defendant’s activities

impact commerce directly, and that such direct effects “in the aggregate, have a substantial

effect on interstate commerce.” United States v. Juvenile Male, 118 F.3d 1344, 1348 (9th Cir.

1997). While both RICO and the Hobbs Act require direct impacts to interstate commerce that

cause a substantial effect in the aggregate, § 231(a)(3) imposes no requirement “that a

defendant's actions implicate interstate commerce to a constitutionally adequate degree.”

Jones, 231 F.3d at 514.

       Finally, the government’s reference to the Supreme Court’s decision in McLain v. Real

Estate Bd. of New Orleans, Inc., 444 U.S. 232, 246 (1980), which addressed the Sherman Anti-
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Trust Act’s jurisdictional element, is also unavailing. The Court in McLain held that an

indictment under the Sherman Act must indicate that, “as a matter of practical economics,” the

defendant’s offense had “a not insubstantial effect on the interstate commerce involved.” 444

U.S. at 246. As with the other offenses, the Sherman Act also requires some showing that the

defendant’s offense conduct itself affected commerce. While recognizing the Commerce

Clause to “extend beyond activities actually in interstate commerce to reach other activities

that, while wholly local in nature, nevertheless substantially affect interstate commerce,” the

Court in McLain added, “it is not sufficient merely to rely on identification of a relevant local

activity and to presume an interrelationship with some unspecified aspect of interstate

commerce.” Id. at 242.

       The express terms of § 231(a)(3) – “in any way or degree” – require exactly such a

nebulous connection to commerce and are not susceptible to construction that could resolve the

gap between the offense of interfering with police or firefighters and a civil disorder’s

commercial impacts. “Civil disorders,” as 18 U.S.C. § 232(1) defines them, can occur in any

situation, in any place, at any time, so long as three individuals are engaged in actions of

violence threatening danger to property. Given such breadth, the law has vast potential to

sweep up individuals who, while interfering with the duties of police, are utterly lacking in

culpability with respect to the civil disorder that affected commerce. Nothing in the language

of § 231(a)(3) can safeguard such individuals from liability for a federal felony conviction

because the statutory language simply cannot be contorted to require that any commercial

effect at all result from a defendant’s actual acts.


      3.      Raich Is Inapplicable Because Section 231(a)(3) Does Not Form An Essential
              Part Of Any Comprehensive Regime Of Commercial Regulations.
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          The government misplaces reliance on Gonzales v. Raich, 545 U.S. 1, 13 (2005). The

    Supreme Court’s decision in Lopez relied in part on the fact that the Gun-Free School Zones Act

    was “not an essential part of a larger regulation of economic activity, in which the regulatory

    scheme could be undercut unless the intrastate activity were regulated.” Lopez, 514 U.S. at 561.

    In Raich, the Court upheld a regulation on intrastate marijuana cultivation for personal use

    because such a regulation was necessary to effectuate the commercial aims of the Controlled

    Substances Act (CSA) and therefore served “a larger regulation of economic activity.” 545

    U.S. at 13. Because the CSA’s purpose was “to control the supply and demand of controlled

    substances in both lawful and unlawful drug markets,” the “failure to regulate the intrastate

    manufacture and possession of marijuana would leave a gaping hole in the CSA.” Raich, 545

    U.S. at 19, 22. By contrast, enforcement of § 231(a)(3) is not necessary to effectuate any

    commercial regulation, nor to advance the goals of any federal regulatory scheme.

           While the regulation of intrastate marijuana cultivation in Raich was part of a

    “comprehensive regime to combat the international and interstate traffic in illicit drugs,” the

    Civil Obedience Act cannot be described as “comprehensive” in any way. Raich, 545 U.S. at

    19. The clearest illustration of the relative “comprehensiveness” of the statutory schemes is

    simple numbers. Since the early 1970s, the drug enforcement under the CSA has been massively

    regulated in federal courts, while § 231(a)(3) has been in almost complete hibernation:

                  Controlled Substances Act: over 970,000 convictions.4

                  The commerce prong of § 231(a)(3): 0 convictions or very close thereto.


4
 Compiled from data available in the Annual Statistical Reports of the Offices of the United
States Attorney, 1970-2019. https://www.justice.gov/usao/resources/annual-statistical-reports.

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For offenses under the CSA, the Sentencing Guidelines determine offense severity in direct

proportion to the marketable quantity of the illicit contraband at issue. U.S.S.G. § 2D1.1. By

contrast, § 231(a)(3) has so little connection to federal regulation that the offense, for 50 years,

has not warranted prosecutions, nor has a guideline been promulgated to address the offense.

The government can point to no “larger regulation of economic activity” involving this

moribund statute.

        The legislative history confirms the statute as a mere vestige of opposition to civil

rights for Black Americans rather than a good faith effort to regulate commercial activity. The

Senate rejected a majority of the provisions that Senator Long had originally included in his

amendment, and, in the end, Senator Long said, “little is left.” DI 25, Exh. B at 15. Whereas

the Senate voted to adopt §§ 231(a)(1) and (a)(2) together in a single vote, § 231(a)(3) was

approved on its own after a voice vote. Although both § 231(a)(1) and (a)(2) concern firearms

and explosives, nothing suggests that § 231(a)(3) forms an “essential part” of any scheme of

firearms and explosives regulation.5 Because § 231(a)(3) was adopted in isolation after the

Senate had rejected a majority of the Civil Obedience Act, it is “not an essential part of a larger

regulation of economic activity.” Lopez, 514 U.S. at 561. The provisions of the Civil Obedience

Act are a far cry from the CSA’s pervasive regime of drug regulations.




5
  Although Senator Long mentioned snipers to appeal to gun control advocates, DI 25, Exh. B
at 9, § 231(a)(3) as passed includes no reference to firearms. Furthermore, accounts of “black
snipers” during the 1967 uprisings were later shown to be false and based in racial anxiety. James
Ridgeway and Jean Casella, Newark to New Orleans: The Myth of the Black Sniper, Mother Jones
(July 16, 2007), https://www.motherjones.com/politics/2007/07/newark-new-orleans-myth-
black-sniper/ .

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      With only the slightest reference to its legislative history, the government simply asks

the Court to assume that Congress’s enactment of § 231(a)(3) was founded on adequate

findings and pure motives. The opposite is true. The legislative history behind § 231(a)(3)

shows that the law was intended to silence civil rights leaders, not to help regulate interstate

commerce. In offering § 231(a)(3), Senator Long sought “to pass a law . . . to do something to

keep people like Stokely Carmichael and Rap Brown from going around accusing all the

American people of being a bunch of murderers and assassins, which we are not, accusing us

of being international criminals, which we are not.” DI 25, Exh. D at 1. Accordingly, the law’s

commercial element was worded to not “leave available to Rap Brown or Stokely Carmichael

the technical defense that they did not cross the State boundary with the intent to create a riot.”

DI 25, Exh. B at 3. Congress therefore intended that § 231(a)(3) be used to suppress and chill

activists’ support for civil rights and criticism of the government, only including a token

commercial element to accomplish its non-commercial purpose. See United States v. Bird, 124

F.3d 667, 682 n.15) (5th Cir. 1997) (“Surely, it would be a perversion of congressional

authority to uphold as constitutional a federal statute that purported to be an exercise of

Commerce Clause power but was for the sole purpose of reaching intrastate activity without

regard to whether or how that activity would actually affect interstate commerce.”)

      The government suggests that, in voting to adopt § 231(a)(3), Congress recognized “the

need to support local law enforcement” based on the belief that “the federal government

should lend a hand.” On the contrary, the bill’s proponent and supporters vehemently opposed

federal involvement in state law under the Civil Rights Act. In proposing § 231(a)(3), Senator

Long sought not to expand federal authority, but rather to diminish and to counteract the


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federal government’s authority to police hate crimes against Black citizens. Motion at 12.

Indeed, in the process of proposing § 231(a)(3) for the first time in the Senate, Senator Long

criticized the hate crime law as “inimical to proper Federal-State relations” and dubbed it “a legal

club” by which the Attorney General “can browbeat State and local officials into submission to

his will and thus assume control of what are essentially State or local government matters.” DI

25, Exh. A at 2. The plain statements contradict the government’s assertion that § 231(a)(3)

sought to facilitate federal intervention into the States’ law enforcement powers.

       As in Lopez, the government here asks the Court “to pile inference upon inference in a

manner that would bid fair to convert congressional authority under the Commerce Clause to a

general police power of the sort retained by the States.” Lopez, 514 U.S. at 567. If the

Commerce Clause is to carry any force at all to maintain our federal form of government, then

the commercial prong of § 231(a)(3) must be struck down.

      E.      The Civil Disorder Statute Violates The First Amendment Both As Over-
              Broad And As Motivated To Suppress A Particular Viewpoint.

       Section 231(a)(3) reaches a substantial amount of protected expression beyond its

legitimate sweep, and the provision’s enactment was motivated by the impermissible purpose

of punishing and chilling viewpoints of the civil rights movement. The government contends

that any potential First Amendment infirmities of § 231(a)(3) can be resolved by grafting a

mens rea element into the provision for the purpose of confining its application to “those acts

which are designed to impede or obstruct.” To the contrary, the wording of § 231(a)(3) is

fatally afflicted with ambiguous, imprecise, and overbroad terms that work together to extend

the law’s application to a broad spectrum of expressive activity entitled to protection under the

First Amendment. Moreover, although the government suggests that Congress intended for §
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231(a)(3) to apply only to unprotected criminal acts, the legislative history of the Civil

Obedience Act in fact shows that the law’s proponents intended precisely to criminalize

protected forms of political expression that derived from certain viewpoints and specific

speakers.

      1.      Section 231(a)(3) Contains No Mental State Element, And Congress Intended
              It To Impose Minimal Burdens On Prosecutions.

       Section 231(a)(3) contains no mens rea element. The government focuses on “any act

to obstruct, impede, or interfere” – language that offers no clarity as to the degree of mental

culpability the provision requires as a matter of law. The government does not point to any

federal felony statute that expresses a mental state requirement with the word “to” alone. This

single word lacks specificity to connote the degree of mental knowledge and intent required

for conviction.

       The fact that § 231(a)(3)’s text itself requires no culpable mental state is confirmed by

comparing its wording with the mental state requirements under §§ 231(a)(1) and (a)(2). A

person can be found guilty under § 231(a)(1) for teaching the use of weapons or explosives

while “knowing or having reason to know or intending that the same will be unlawfully

employed for use in, or in furtherance of, a civil disorder.” A conviction under § 231(a)(2)

requires that a defendant transports or manufactures firearms or explosives while “knowing or

having reason to know or intending that the same will be used unlawfully in furtherance of a

civil disorder.” "Where Congress includes particular language in one section of a statute but

omits it in another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion." Gozlon-Peretz v. United

States, 498 U.S. 395, 404 (1991) (citing to Russello v. United States, 464 U.S. 16, 23 (1983)).

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Congress rejected the mental element the government now attempts to incorporate into

subsection (3) of § 231(a).

      Without an expressed mens rea element, the Court “must follow Congress’ intent as to

the required level of culpability for any particular offense.” United States v. Bailey, 444 U.S.

394, 406 (1980). The legislative history behind § 231(a)(3) contains significant evidence that,

contrary to the government’s assertions, Congress intended the language of § 231(a)(3) to

relieve prosecutors of the burden of proving the defendant’s culpable mental state. Senator

Long regarded the burden of proving whether a man crossed state lines or what his intentions

were in doing so as “insurmountable” and “irrelevant.” DI 25, Exh. B at 3. He complained that

it would “leave available to Rap Brown or Stokely Carmichael the technical defense that they

did not cross the State boundary with the intent to create a riot.” Id. In place of a mental state

requirement in § 231(a)(3), Congress included only a commercial element also devoid of an

explicit mens rea. Senator Long explained that, under this standard, a prosecutor would be

required to “prove merely that commerce was interrupted,” and having established that fact,

“the one who started the riot can then be held responsible for interfering with it.” Id. The text,

context, and purpose of § 231(a)(3) therefore contradict the government’s interpretation of a

narrowly drawn intent requirement.

      2.      Section 231(a)(3) Burdens A Substantial Amount Of Protected Speech,
              Including Expressive Conduct.

       By contending that § 231(a)(3)’s “applications to conduct, rather than protected speech,

present no First Amendment concerns,” the government ignores the Supreme Court’s

protection of an array of “conduct” that falls under the speech protections of the First

Amendment. The Constitution’s speech protections extend to “symbolic conduct that, ‘on its
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face, does not necessarily convey a message.’” Anderson v. City of Hermosa Beach, 621 F.3d

1051, 1061 (9th Cir. 2010) (quoting Cohen v. California, 403 U.S. 15, 18 (1971)). The

government’s label of “conduct” is unhelpful for the legal determination at issue because

conduct and speech are not mutually exclusive. Id. The question is not whether the terms of §

231(a)(3) apply to conduct rather than speech, but rather whether a substantial amount of the

activities prohibited under § 231(a)(3) are “‘sufficiently imbued with the elements of

communication’ to receive First Amendment protection.” Id. at 1058 (quoting Spence v.

Washington, 418 U.S. 405, 409 (1974)).

       “Expressive conduct is characterized by two requirements: (1) ‘an intent to convey a

particularized message’ and (2) a ‘great’ ‘likelihood ... that the message would be understood

by those who viewed it.’” Edge v. City of Everett, 929 F.3d 657, 668 (9th Cir. 2019) (quoting

Texas v. Johnson, 491 U.S. 387, 404 (1989)). Accordingly, so long as § 231(a)(3) burdens a

substantial amount of activities intended to convey a message to an audience who would

understand it, the provision is facially overbroad under the First Amendment.

       Section 231(a)(3) burdens a substantial amount of speech and conduct imbued with

communicative elements. The provision criminalizes “any act” that could “interfere with” the

“duties” of police and firefighters incident to a civil disorder involving three or more people.

18 U.S.C. § 231(a)(3). The term “interfere” is left undefined, as is “impede” and obstruct,”

permitting an expansive application to any form of expression that tends to interfere with, that

is, to interrupt, a police officer’s duties during a civil disorder. See McCoy v. City of Columbia,

929 F. Supp. 2d 541, 550 (D.S.C. 2013) (“the terms of the Ordinance undefined, it is not clear

whether the Columbia City Council intended the Ordinance to apply to physical conduct alone,


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and the court cannot say that the Ordinance is valid.”). Section 231(a)(3) is not restricted by

time or place, extending broadly across all venues including traditional public fora. See

Seattle Affiliate of Oct. 22nd Coal. to Stop Police Brutality, Repression & Criminalization of a

Generation v. City of Seattle, 550 F.3d 788, 797 (9th Cir. 2008) (“When the government seeks

to regulate access to the streets, ‘First Amendment protections are at their strongest and

regulation is most suspect.’”) (quoting Long Beach Area Peace Network v. City of Long Beach,

522 F.3d 1010, 1027 (9th Cir. 2008)). Rather than narrowing § 231(a)(3)’s application, the

requirement of a contemporaneous “civil disorder” only ensures that the provision will be

invoked to quell political demonstrations, both large and small, that are infused with a

communicative purpose. For these reasons, § 231(a)(3) not only applies to pure speech, but the

provision also places severe burdens on a substantial amount of protected conduct.

      Section 231(a)(3) applies to non-violent speech and actions intended to communicate

ideas. The government never contests the fact that the terms of § 231(a)(3) reach nonviolent

protected expression. Although the government correctly asserts that § 231(a)(3)’s “plainly

legitimate sweep encompasses violent criminal conduct,” this does not overshadow the fact

that “a substantial number of its applications are unconstitutional, judged in relation to the

statute's plainly legitimate sweep.” Stevens, 559 U.S. at 473. While some of the activities under

§ 231(a)(3) can be classified as violent and unprotected, “the First Amendment protects a

significant amount of verbal criticism and challenge directed at police officers.” City of

Houston, Tex. v. Hill, 482 U.S. 451, 461 (1987). Section 231(a)(3) is susceptible to no

interpretation that could prevent its application to “a significant amount of verbal criticism and

challenge directed at police officers,” and the Court should invalidate it on this basis.


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      3.      Strict Scrutiny Is Warranted Because § 231(a)(3) Was Intended To Suppress
              Disfavored Viewpoints Of Civil Rights Leaders.

       The overbroad terms of § 231(a)(3) only serve to advance the impermissible goal,

articulated repeatedly throughout underlying legislative history, of suppressing disfavored

viewpoints in support of civil rights and against white supremacy. The government offers little

to contest this claim, contending only that the “isolated statements of one particular Senator

does not transform a statute – that on its face, applies neutrally regardless of the viewpoint

underlying a defendant’s obstructive conduct – into impermissible viewpoint discrimination.”

DI 28 at 26. However, even if § 231(a)(3) were content-neutral on its face, which it is not, the

Supreme Court has recognized that “[b]ecause strict scrutiny applies either when a law is

content based on its face or when the purpose and justification for the law are content based, a

court must evaluate each question before it concludes that the law is content neutral and thus

subject to a lower level of scrutiny.” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 166 (2015).

      The Supreme Court teaches that, contrary to the government’s position, a law may be

held to be impermissibly viewpoint-based where evidence shows the law was “adopted by the

government ‘because of disagreement with the message [the speech] conveys.” Id. at 164

(quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)). Although the government

references “isolated statements,” the legislative background behind § 231(a)(3) is replete with

evidence of a purpose to silence particular viewpoints. Section 231(a)(3) was enacted in

response to certain legislators’ fear that Black civil rights activists would gain legal protections

under the hate crime law that would “help” them to “carry on their conduct and to stir up

hatred and ill will among people of their race.” DI 25, Exh. A at 4. Senator Long expressed

hostility to specific speeches, writings, and communications, including Dr. King’s Letter From
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A Birmingham Jail, as reasons for the legislation. Id. at 8. In response to a legislative record rife

with illicit targeting, one Senator complained that, by enacting provisions of the Civil

Obedience Act, Congress would “not be legislating . . . out of prudence,” but rather would “be

legislating in retaliation against Carmichael and Brown.” DI 25, Exh. B at 10.

        The impermissible viewpoint-discriminatory purpose behind § 231(a)(3) is evident

from the unambiguous and repeated statements of legislators during its adoption. Therefore, §

231(a)(3) can be categorized among “additional category of laws that, though facially content

neutral, will be considered content-based regulations of speech.” Reed, 576 U.S. at 164.

      F.      The Statute’s Multiple Ill-Defined Terms Fail To Provide Required Notice
              And To Protect Against Arbitrary And Discriminatory Enforcement.


      The government provides only a passing defense of the statute under the void for

vagueness provision of the Due Process Clause. The lack of certainty throughout the statute

shifts the enforcement definitions from the legislature to police and prosecutors. Section

231(a)(3) provides no textual basis to limit the statute and no reason for the general public

know citizens cannot be subjected to arbitrary and discriminatory enforcement. Because the

statute does not define its terms, the terms must be read “in accordance with [their] ordinary or

natural meaning.” FDIC v. Meyer, 510 U.S. 471, 476 (1994). The ordinary meaning of the

statute’s terms are dangerously broad and depend on the reactions of the particular officer.

        The government relies on out-of-Circuit cases to contend that the statute’s vagueness

can be saved by construction. DI 28 at 7 (citing United States v. Mechanic, 454 F.2d 849 (8th

Cir. 1971). Most critically, Mechanic has long since been superseded by Supreme Court

authority limiting judicial ability to rewrite statutes and requiring certainty to protect against

the evils of vagueness articulated after those cases were issued. DI 25 at 23, n.11. In Mechanic,
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the Eighth Circuit rejected the defendant’s void-for-vagueness argument by determining that,

under the law at that time, “defendants may not challenge [criminal statutes] as vague or

overly broad if their own conduct may be constitutionally prohibited.” Mechanic, 454 F.2d at

853.

        Since Mechanic was decided, the Supreme Court has embraced facial vagueness

challenges that may not apply to the specific case. See Johnson, 576 U.S. at 603 (rejecting the

proposition that “a statute is void for vagueness only if it is vague in all its applications.”);

Guerrero v. Whitaker, 908 F.3d 541, 544 (9th Cir. 2018) (“Johnson and [Sessions v. Dimaya,

138 S. Ct. 1204 (2018)] expressly rejected the notion that a statutory provision survives a

facial vagueness challenge merely because some conduct clearly falls within the statute’s

scope.”). The decision in Mechanic is also at odds with the Supreme Court’s later recognition

of a “personal right not to be convicted under a constitutionally invalid law.” Bond v. United

States, 564 U.S. 211, 226 (2011).

        Finally, the decision of the Mechanic court to append a requirement of “violence” to

the acts prohibited under § 231(a)(3) finds no support in the statutory language and is

inconsistent with later Supreme Court directives foreclosing judicial rewriting of a statute’s

plain terms. See Nat'l Ass'n of Mfrs. v. Dep't of Def., 138 S. Ct. 617, 629 (2018) (“Of course,

those are not the words that Congress wrote, and this Court is not free to ‘rewrite the statute’ to

the Government's liking.”) (citing Puerto Rico v. Franklin Cal. Tax–Free Trust, 136 S. Ct.

1938, 1949 (2016) (“[O]ur constitutional structure does not permit this Court to rewrite the

statute that Congress has enacted.”); Stevens, 559 U.S. at 481 (same). The government does

not appear to even offer such an indefensible interpretation of the statute.

        The government also claims that the First Amendment considerations do not apply to
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Due Process vagueness, citing to Holder v. Humanitarian Law Project, 561 U.S. 1, 21 (2010).

Not so. Where, as here, “a statute’s literal scope [reaches] expression sheltered by the First

Amendment, the doctrine demands a greater degree of specificity than in other contexts.” Smith

v. Goguen, 415 U.S. 566, 573 (1974). Unlike the statute banning “expert advice or assistance”

to foreign terrorist organizations upheld in Humanitarian Law Project, Congress has not taken

care to add narrowing definitions to § 231(a)(3) that increase “the clarity of the statute’s terms.”

561 at 21. Section 231(a)(3) does not rely on “statutory definitions, narrowing context, or

settled legal meanings” like the material-support statute but instead depends on “untethered,

subjective judgments.” 561 U.S. at 20-21 (quoting Williams, 553 U.S. at 306).

       The statute leaves individuals uncertain regarding criminalized conduct and “would

delegate to prosecutors and juries the inherently legislative task of determining what type of . .

. activities are so morally reprehensible that they should be punished as crimes.” United States

v. Kozminski, 487 U.S. 931, 949 (1988). By doing so, the statute unconstitutionally invites

“arbitrary or discriminatory prosecution and conviction.” Id.

      G.      The Indictment Fails To Comply With The Grand Jury Requirements Of
              The Fifth Amendment And Rule 7.

       The indictment fails in two ways: the indictment fails to incorporate the government’s

interpretive overlays required to describe the elements of the offense; and the indictment does

not describe the facts that constitute the offense.

       Section 231(a)(3) is not amenable to judicial rescue by rewrite of its provisions to meet

minimum constitutional standards. The government, in the face of statutory silence on mens

rea, asks the Court to read into the statute that a defendant’s acts must be “designed to impede

or obstruct.” DI 28, at 21 (emphasis added). But the grand jury never found such a mens rea,
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nor any intent to commit the offense. See, United States v. Keith, 605 F.2d 462, 464 (9th Cir.

1979) (indictment must be specific enough to assure that the grand jury had found all the facts

necessary to constitute an offense); see also, United States v. Kilpatrick, 921 F.2d 1456, 1463

(105h Cir. 1987) (courts cannot imply additional essential elements to the indictment)

       Here, the statute’s text includes no mental element; the indictment includes no mental

element. Yet the government claims that the Court should read in a mental element. The

indictment quotes the statute, so the grand jury did not need to find that the defendant acted

with mens rea, the same defect recognized in Keith. The basic protection included in the Fifth

Amendment becomes meaningless when the grand jury essentially acts as a rubber stamp,

without being required to find all the elements of a statute – especially the mental component –

that are not apparent from the text.

       To the same effect, the “act” that the government refers to are not specified, leaving the

government free to vary from the theory of the case presented to the grand jury. While notice

can be provided by alternative means, the grand jury itself limits the case the prosecution can

present to the petit jury. “[A]fter an indictment has been returned its charges may not be

broadened,” although they may be narrowed. United States v. Miller, 471 U.S. 130, 143 (1985)

(quoting Stirone v. United States, 361 U.S. 212, 215-16 (1960)). Thus, only by providing at

least some specificity of the conduct alleged are the Fifth Amendment rights of defendants

protected from expansion to any other behavior not presented to the grand jury that the

prosecution could present at trial as a basis for conviction.

       The indictment in the present case provides neither required notice nor protection of the

interceding role of the grand jury of defining the offense to which a defendant must answer and

limiting the prosecutor’s presentation at trial.
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II.       THE COURT SHOULD DISMISS THE INDICTMENT FOR SELECTIVE
          PROSECUTION.

          Prosecutorial discretion is broad, but it is not “‘unfettered.’ Selectivity in the

prosecution of criminal laws is . . . subject to constitutional constraints.” Wayte v. United

States, 470 U.S. 598, 608 (1985) (citation omitted). “[T]he decision to prosecute may not be

‘deliberately based upon an unjustifiable standard such as race, religion, or other arbitrary

classification,’” id. (citing Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978), including the

First Amendment, see Hartman v. Moore, 547 U.S. 250, 256 (2006).

          To obtain discovery on a selective prosecution claim, a defendant must show only that

there is “some evidence tending to show the existence of the essential elements of the defense,

discriminatory effect and discriminatory intent.” United States v. Armstrong, 517 U.S. 456, 465

(1996).        In circumstances where there are direct admissions by the government of a

discriminatory intent, however, the Supreme Court has suggested that the prosecution’s

admission is sufficient to obtain discovery. See id, at 469 n.3 (“reserve[ing] the question whether

a defendant must satisfy the similarly situated requirement in a case ‘involving direct admissions

by [prosecutors] of discriminatory purpose”; see also Hartman, 547 U.S. at 264 (“A prosecutor’s

disclosure of retaliatory thinking on his part, for example, would be of great significance in

addressing the presumption of retaliatory purpose.”).

          A.      The Decision to Prosecute Was Based on a Discriminatory Intent and There
                  Are Direct Admissions of Discriminatory Purpose by the Prosecution
                  Entitling Mr. Wood to Discovery.

          The government argues that the defense has failed to show discriminatory intent in the

decision to prosecute him and that the “usual determinative factors” were at play. DI 28 at 37.

The government also incorrectly states that Mr. Wood did not express remorse when in fact

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voluntarily showed up at the police station, without counsel, and make an extremely tearful,

remorseful statement.

       Most egregiously, however, is that the government argues that the defense’s claim is

based on one “alleged” statement, DI 28 at 32, from former Attorney General (“AG”) Barr

made months after the decision to prosecute Mr. Wood. The government would have the Court

question whether AG Barr even made the statement, but the public record is replete with

statements from former President Trump and former AG Barr both before and after the decision

to file the federal complaint. AG Barr made plain his discriminatory intent to target for federal

prosecution those involved in protests and charged with criminal conduct, and he instructed the

United States Attorneys to do so.

        On May 30, less than one week after Mr. Floyd’s murder, AG Barr issued a statement

saying that “protests had been hijacked by violent radical elements,” and that “it appears that

the violence is planned, organized, and driven by anarchistic and far left extremists using

Antifa-like tactics.” William P. Barr, Dep’t of Justice, “Attorney General William P. Barr’s

Statement on the Death of George Floyd and Riots,” (May 30, 2020),

https://www.justice.gov/opa/pr/attorney-general-william-p-barr-s-statement-death-george-

floyd-and-riots. In demanding order, AG Barr pledged to “support these local efforts and take

all action necessary to enforce federal law.” Id.

       Later, AG Barr issued further statements without offering evidence that outside groups

and agitators with extremist agendas were wreaking havoc and violence and that federal law

enforcement were directed to apprehend and charge “the radical[s].” William P. Barr, Dep’t of

Justice, “Attorney General William P. Barr’s Statement on the Death of George Floyd and

Riots,” (May 31, 2020), https://www.justice.gov/opa/pr/attorney-general-william-p-barrs-
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statement-riots-and-domestic-terrorism.

       The next day, President Trump warned that organizers of the violence, including

“Antifa” and “professional anarchists” would “face severe criminal penalties.” CNN, “READ:

President Trump’s Rose Garden speech on protests,” (June 1, 2020),

https://www.cnn.com/2020/06/01/politics/read-trumps-rose-garden-remarks/index.html. Later

that day, President Trump and AG Barr held a call with state governors. President Trump

explained that “we will activate Bill Bar and activate him very strongly.” CNN, “READ:

President Trump’s call with US governors over protests’” (June 1, 2020),

https://www.cnn.com/2020/06/01/politics/wh-governors-call-protests/index.html. The AG

explained that federal law enforcement would be needed to go after the troublemakers.

President Trump emphasized: “Total domination, you have to dominate. . . . These are

terrorists, these are terrorists looking to do bad things to our country.” Id.

       On June 26, 2020, AG Barr sent a memorandum to all United States Attorneys

regarding a task force on “anti-government violent extremists.” He spoke with Fox News on

June 8, 2020 and on August 9, 2020, emphasizing the evils of “Antifa” as a “revolutionary

group that is interested in some form of socialism communism . . . . their tactics are fascistic.”

See Gregg Re, “Barr, in FNC interview, confirms ‘focused investigations’ of Antifa, hammers

‘dangerous’ push to defund police,” Fox News, (June 8, 2020),

https://www.foxnews.com/politics/barr-exclusive-fox-news-interview; Chantal de Silva, “Barr

Accuses Protestors of ‘Facistic’ Tactics. They Said Same About Feds,”

https://www.newsweek.com/william-barr-accusers-protesters-fascistic-tactics-blm-antifa-

1523930.

       The government here notes that it investigated Mr. Wood for ties to such “groups,” but
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presents no evidence. Meanwhile, the government makes excuses for the Capitol rioters and

insurrectionists charged only with misdemeanors, but who were explicitly anti-government

extremists and took part in criminal, dangerous, and ultimately deadly acts at the United States

Capitol with a full session of Congress and the Vice President present.

       Throughout the summer of 2020, AG Barr told United States Attorneys “to be

aggressive when charging violent demonstrators with crimes, including potentially prosecuting

them for plotting to overthrow the U.S. government.” Aruna Viswanatha and Sadie Gurman,

Barr Tells Prosecutors to Consider Charging Violent Protesters with Sedition, The Wall Street

Journal (Sep. 17, 2020), https://www.wsj.com/articles/barr-tells-prosecutors-to-consider-

charging-violent-protesters-with-sedition-11600276683. He also told the United States

Attorneys to seek federal charges when charging demonstrators even when state charges could

apply, as they did in Mr. Wood’s case. See Michael Balamo, et al., Justice Dept: Sedition

charge may apply to protest violence, Associated Press, (Sept. 17, 2020),

https://apnews.com/article/state-courts-violent-crime-arson-violence-crime-

cbca8672a70f9f170a086a7a252a751e.

       Attorney General Barr’s statements and directives to the United States Attorneys are

unequivocal—people accused of criminal conduct in relation to or in the proximity of

protests—were to be treated more severely than other criminal defendants and were selected for

federal prosecution. This disclosure of discriminatory intent is sufficient to entitle Mr. Wood to

discovery on the decision to prosecute him. See Armstrong, 517 U.S. at 469 n.3.

       B.      There is “Some Evidence” of Discriminatory Effect.

       The government argues there is no discriminatory effect. The government’s own

description of the George Floyd protests in Wilmington make clear that hundreds of people
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were involved in the protest and that Mr. Wood was not the only protestor who is alleged to

have engaged in criminal conduct during the protests. As the instant Reply recounts, §231(a)(3)

has been largely dormant, see also DI 25, hardly used, and never so in the District of Delaware,

until AG Barr and President Trump ordered federal prosecution of protestors marching against

police violence.

       The government then attempts to downplay the seriousness of the acts of the

insurrectionists who broke and pushed their way through police barriers and into the US Capitol

while Congress and the Vice President were in session to certify the national election. The

government calls the news reports “inflammatory,” and then graciously notes that some of those

charged with only misdemeanors merely entered the Capitol and disobeyed curfew (Joshua

Pruitt), entered the Capitol and refused to leave when ordered (Cindy Fitchett), entered the

Capitol and took and posted photographs to social media of himself with his middle finger

raised (Robert Bauer), entered the Capitol carrying a knife (Joshua Matthew Black), and entered

the Capitol and pushed an officer (Matthew Council). The government accepts that Council

was apologetic after officers had to pepper spray him to calm him down, but denies that Mr.

Wood was remorseful after he turned himself into police. The government makes no comment

about Bryan Betancour (who lied about travelling while on probation and is a known white

supremacist), Michael Bledsoe (who posted on social media about his pride in having broking

federal laws at the Capitol), or Jenny Cudd (who traveled push her way into the Capitol and

whose proud social media posts about the insurrection have received millions of views)—each

of whom is charged only with misdemeanors. The government argues Mr. Wood’s alleged

singular act contributed to escalating unrest in Wilmington, yet it does acknowledge whether

the Capitol insurrectionists might be similarly responsible for contributing to the overwhelming
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of the United States Capitol, giving cover to the property destruction, violence and death, and

terror experienced by lawmakers and staff at the capital.

       Accordingly, Mr. Wood is entitled to discovery because there is more than “some

evidence tending to show the existence of the essential elements of the defense.” Armstrong,

517 U.S. at 468.

III.   CONCLUSION

        For the foregoing reasons and those stated in the motions to dismiss, the Court should

 dismiss the indictment.



                                                     Respectfully submitted,

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